




















NO. 07-10-0262-CV

&nbsp;

IN THE COURT OF APPEALS

&nbsp;

FOR THE SEVENTH DISTRICT OF TEXAS

&nbsp;

AT AMARILLO

&nbsp;

PANEL A

&nbsp;



DECEMBER 15, 2010

&nbsp;



&nbsp;

MULTIPLAN,
INC., APPELLANT

&nbsp;

v.

&nbsp;

PRINCIPAL
LIFE INSURANCE CO., APPELLEE 



&nbsp;



&nbsp;

&nbsp;FROM THE 99TH DISTRICT COURT OF LUBBOCK
COUNTY;

&nbsp;

NO. 2007-541,633;
HONORABLE WILLIAM C. SOWDER, JUDGE



&nbsp;



&nbsp;

Before CAMPBELL, HANCOCK and PIRTLE, JJ.

&nbsp;

&nbsp;

MEMORANDUM
OPINION

&nbsp;

Appellant
Multiplan, Inc. and appellee Principal Life Insurance Company have filed a
joint motion to dismiss this appeal because they have reached a settlement. &nbsp;The motion is signed by attorneys for both
parties. &nbsp;Without passing on the merits
of the case, we grant the motion to dismiss pursuant to Rule of Appellate
Procedure 42.1(a)(1) and dismiss the appeal.&nbsp; Tex. R. App. P. 42.1(a)(1).&nbsp; Based on the agreement of the parties, costs
of the appeal are taxed against the party incurring them.&nbsp; Tex. R. App. P. 42.1(d).

Having
dismissed the appeal at the parties’ request, we will not entertain a motion
for rehearing and will issue our mandate forthwith.

&nbsp;

James T. Campbell

Justice

&nbsp;

&nbsp;





